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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                        JACKSONVILLE DIVISION


  JUAN CARLOS GIL,

        Plaintiff,

  v.                                             Case No. 3:19-cv-301-J-32JRK

  HAMILTON COUNTY, FLORIDA,

        Defendant.




                                     ORDER

        The Court has been advised that this case has been settled (Doc. 12).

  Accordingly, it is now

        ORDERED:

        1.    The parties shall have until July 29, 2019 to file a joint motion for

  dismissal or other appropriate documents to close out this file.

        2.    If the parties have not filed settlement pleadings or a request for

  extension of time by the July 29, 2019 deadline, this case will automatically be

  deemed to be dismissed without prejudice. The parties are cautioned that

  in some cases, the Court may not have jurisdiction to enforce

  settlement agreements once the case has been dismissed without

  prejudice; thus, if the parties have not finalized their settlement by the
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  deadline, they are encouraged to move for an extension of that

  deadline. The Clerk should close the file now, subject to reopening if the

  parties file papers by the deadline.

          3.   All pending motions and deadlines are terminated.

          DONE AND ORDERED in Jacksonville, Florida the 28th day of May,

  2019.




                                                 TIMOTHY J. CORRIGAN
                                                 United States District Judge

  sej
  Copies:

  Counsel of record




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